o Oo ss DH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

ase 5:17-cv-01065-DSF-AS Document 333 Filed 12/20/21 Page1lofi Page ID #:632

JS6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
ATEF BANDARY, CV 17-1065 DSF (ASx)
a JUDGMENT
Plaintiff,
V.

DELTA AIRLINES, INC.,

Defendant.

 

The jury having found in favor of Plaintiff Atef Bandary, for the reasons set
forth in the Court’s November 30, 2021 Order, Dkt. 325, IT IS ORDERED that
judgment for $7,225,000 is entered in favor of Plaintiff Atef Bandary and against
Delta Airlines, Inc and that Plaintiff is the prevailing party.

DATED: 12/20/2021 AY, M b Je pA

Dale S. Fischer
UNITED STATES DISTRICT JUDGE

 

O

 
